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            Exhibit 19
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                                                                                                                               Form F4-5M-3,1-76                         ..e,,s2
               OF FICE OF

CORONER                                                                                  Peoria, lllinois, _ _ _. _F....
                                                                                                                    e.ub....c....11..._a.....c--i)1-'_ 3_..,_,_..._1..;29..,,7..,_7_
        OF PEOR IA COU :-iT'\      0




                                                                        EVIDENCE given at the Coroner's Inquest on t he body of

C,,_=-0.. ,N_,_,N~I.....E..........1...E
                                       ...E
                                          __c_o_..o~P.....E~R~A~N~P~,J....A.. _M~f~S~W~
                                                                                      , ~R_O_B~l~N~5~G~N.....,..
                                                                                                            , _.J....
                                                                                                                  8 ~ - - - - - -- -- - - - - - ,                 deceased;

G_
 L _E_N_P_E_R_K_
              ·I N_S_ _ _ _ _ _ _ _ _ _ _ __ _ _ __                                           ,    after being duly sworn, testifies as follows:



Q.        Wo u l d you please state your name, your address and your occupation?

A.        Glen Perkins;                  I   I ive at                                                                   Pol ice Officer , Ci t y

          of Peoria .

Q.        How did you                  learn of an             incident that took,f>lace                                   at 3033 Garden Str ee t

          on J anuary              18th,        1977?

A.        By radio,             I was dispatched to that                               location on the report of two (2)

          child ren being bloody an d possible t rouble there .

Q.        And do you remember about what time you received the ca l I?

A.         I be li eve i t was approximately 4 : 35 P . M.

Q.        Okey .         And you arrived within a matter of minutes ,                                                            is that correct?

A.         I a rr i ve d app r oximate I y 4 : 4 I P. M.

Q.        Al I     right .             Would you please tel I the Jury and others presen t                                                                    what you

          fo un d upon your arrival; any persons t hat you talked with and what your

          conversation was, please?

A.        Just be fore I a r rived the dispatcher -- the radio dispatcher --

          had changed the disposition of the cal I to two (2)                                                                   bodies being foun d .

           I pul led up to the fron t                           driveway and                      met Mr. Douglas, who took me

          ins ide the house and directed me to a rear bedroom where                                                                              I foun d the

          bod ies of chi l dren , Connie Cooper and James Robinson.                                                                      lying on the

          floor in the rear bedroom.

Q.        And then wha t                 did you do after that?
                   '
A.        I went to each of the children, checked for pulse,                                                                    fou nd none, bodies

          were cold .                  I cal led Sgt .             Voegele -- we l I, Sgt.                              Voegele had arrived by

          then and            I cal le d for the Coroner and other po l i ce person nel .

Q.        Al I     ri g ht.            Now upon entering the front                                doo Pl!ORl~SAVORV-13122 's
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 CORONER                                             Peoria, Illinois, ___.._f...
                                                                              e.....b.....r.....1....
                                                                                                 1a.....r
                                                                                                        . . .y,__....3""7",_._1_9~1......1~
     OF PEORIA COU:"ITY

                                           EVIDENCE given at the Coroner's Inquest on the body of

 CONNIE LEE COOPER AND .!AMES W. ROR ! NSQN, ,IR                                                                     ,    deceased;

 GLEN PERK t NS                                           , after being duly sworn, testifies as follows:


Q.    What was the position of the bodies in reference to each other and
       in reference to the f ur niture in t~e bedroom?

A.    The body of James Robinson was Immed ia t el y to the right , in fr ont of

      the bed, as you entered the bedroom , and the body of Connie Cooper was
      to my I eft against the wa I I as I entered the bedroom.
Q.    Al I right.         I might c lari fy what you said that the body of James

      Robinson was to your right, and not to the r i ght of the bed.                                                 He was
      at the foot of the bed , I believe .
A.    At the foot of the bed, yes .

Q.    Okey .     Did you notice any -- any weapons of any type -- any knives or
      guns or anyth i ng?
A.    No, s i r.

Q.    Is the re anything -- in conversation that you had wi th either Mrs.

      Robinson or Mr. Douglas, that .you haven 't stated already, that you
      co u I d t e I I us?

A.    I d i d n ' t have any con versat i on with Mrs. Doug l as; she was very upset
      and hysterical .        I couldn ' t get any information from her.                                     I talked
      with Mr. Douglas, who gave me information as to the time they had

      left t hat morning , and the time -- approximate time -- that they had
      arrived back that night and the prob l em with the door                                           the front door
      bein g' locked and told me that they had though t something was wrong

      because the T- V was on the floor and the door was locked and no one
     answere d the doo r and they entered the house from the garage .
Q.   Was there a ny sign of forced entry into the house that you notic ed?
A.   Not that I noticed.                                              PEORIA_SAVORY 13123
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                                                                                                                                                                    Form F4-5M-3-l -76                        . . . . . .62



CORONER                                                                                                                   Peoria, Illinois, ____
                                                                                                                                               F e_b_r_u_a_r_,y..__3.....L.
                                                                                                                                                                        , _I_9_7_7_
            0 1" PEORIA COUSTY

                                                                                                   EVIDENCE given at the Coroner's I nquest on the body of

c~o.!.:!NllN..l.l..bE~....1,L...i.E...1E---.JC-<.!O.i..:O>LL.P.1..E.uR-----LJA..uNu.DL.....>,Jw:Al.J.M:uE_,S,l_Wll...a...,----L:IR.lo.10..i..Bu.l..L.lN....su.Ou..N._,,.........,.ulR.,,__,_
                                                                                                                                                                                         , -----------,   deceased;

G=-=L-=E.. :. .N:. . . . :.-P=E:. . :R. .:. .Kc..:. . :. . I:....:.
                                                             N.=S_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ,                                  after being duly sworn, testifies as follows:



Q.             (Cont. )                   i nd i viduals and the -- the dog -- was he sti I I                                                                                        in the house?

A.             I be Ii eve the dog was                                          in the house .                               I    saw the dog                         later.

Q.            Did the dog act                                 in any vicious manner when you went                                                                        into the house?

A.             In i t i a I I y ,               I di dn I t               see the dog.                              I was on my way out of the house

              when            I    saw the dog and he was not vicious at that time .

Q.            Did you notice any signs . of blood or anything outside of the bedroom

              or yourself?

A.            No,          I didn't notice any outside the bedroom.

Q.            T he bedroom where the children were found,                                                                                     to clarify that.                                     Did you

              notice -- you d i dn ' t                                      notice any blood outside the house                                                                       in the snow

             or anything?

A.           No ,         I       did not.

Q.           Were you personally acquainted with either the t wo                                                                                                      Individuals                         involve d ?

A . No ,         I wasn't

Q.           Have you ever been ca I I ed to this residence before?

A.           No .

Q.            I s there anything else that you could add?

A.           No.

Q.            (To the Jury) :                                Are there any other questions by the Jury?

              (Jury ):                  None .

Q.           Al I        righ t.                  I believe,                      if there                   is nothing else ,                                 that wi 11                   be al I .

             Thank you very much.                                              You may step down.




                                                                                                                                               PEORIA_SAVORY 13124
                                    1:23-cv-01184-CRL-JEH # 318-19                                                    Filed: 04/22/24                       Page 5 of 9
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CORONER                                                                                                                Peoria, Illinois,_ _ _.,_F.,..e-"'b_,_r....,u..,,a.._.r_y~""'"3-#-,__,_!....,9:.....,7_.7'---
           OF PEO RIA C OU:-iT '\"

                                                                                                EVIDENCE given at the Coroner's Inquest on the body of

~C~O~N.!.:!N.. .!.l. .Ec.!: . . . .!:L=..!:E=-J;~c~o~o!L!P
                                                f        L. . b. E.LiR---1J.A.l.lN. l,!Dc.. . .l-lJ.LAu:M:u.E. ,SL.. . . IWIL,. ,_Ro..Ol-l.U.6-1.l.uN....iS..l.lO:.uN4,____...Ju.Rl..., ___ _ _ __ __ _ _ _ _ , deceased;
_J_O_H_N_F_IE_R_S____________ _ _ _ _ _ _, after being duly sworn, testifies as follows:


Q.            Wou l d you please state your name , your address and your occupation?
A.            My name i s John Fiers,                                                  Ii ve at                                                                                  I am employe d
              by      the Peor i a Po l ice Department .

Q.           Off icer Fiers , how were you notified to go to the scene of the sus -
              pected double hom i cide at 3033 West Garden                                                                                   Street on January the
              18th,             1977?

A.           At app roximately 5:00 P.M . on that date , I was in Court at the Court-
             house , here and I was notified by a Bai I iff tha t                                                                                           I was wanted on t he
              po l ice radio i n regards to an incident that had happened .                                                                                                              I then
                          '
             went to my po l ice radio ; contacted t he Peoria Police operator and, at
             t hat time ,                     I was informed of the double homicide at 3033 \Vest Garden,
             and I was r equested to respond to that location.

Q.           Wou Id you please tell the Jury and others present what the c i rcumstances
             were when you arrived and the part that you took in the inve stigation
             wh ether or not your i nvestigation is completed , and 1 1 11 try not to

             i nterrupt you with any quest io ns .

A.           I arr i ved at approximately fifteen min utes later after being notified.
                                            that
             Upon my arr i val , I observed/the Peoria County Coroner , Herbert Buzbee,

             was presen t and I subsequently l ear ned that he had pronounced both
             Co n nie Cooper and James Robinson deceased .                                                                                   Immediately prior t o
             entering the residence,                                               I met wit h Of fi cer Cannon, who works with me
            out of the Detective Burea u with the Violen t Crime Unit.                                                                                                               Officer Cann o n
             informed me o f information that he had ob tained at that point.                                                                                                                               then
            en t ered the front door of the re sidence with Officer Cannon.                                                                                                                           not i ce d o n
            the front door, there was a area a r ound the ~ EQRIIAi_cSAVlOIIYw1312,5j in
                      1:23-cv-01184-CRL-JEH # 318-19        Filed: 04/22/24        Page 6 of 9        t   I



                                                                                    Form F4-5M-3-l-76              ~62
          OFFICE OF


CORONER                                                     Peoria, Illinois,--- ~E~e-b-c~11-a~c"'i'y_ 3-"--r-,~I~9~l~l~
      OF PEORIA COU STY

                                                EVIDENCE given at the Coroner's Inquest on the body of

_
C_O_N_N_I_E_L_E_E'_C_O_O_P_E_R_A_N_D_J_A_M_E_S_W_
                                                . _R_O_B_I_N_S_O_N~,_J_R_._ _ _ _ _ _ _ _ _ _ _ _,            deceased;

J_ _
   O_H_N_ F_I_E
              _R_ S_ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _,            after being duly sworn, testifies as follows:


A.     (Cont . )       I wa s then informed by Officer Cannon that the two ( 2 )

       deceas e d wer e in the back bedroom.                I walked back there, ste pp ed
       appro ximately a foot inside the bedroom, looked in, at that t ime,

       Offic er Jatkow s ki of our Lab Division was presen t, examining t he
       bo d i e s and gathering physical evidence and photographing the cri me

       scene .        I th en came back out went back into the Ii vi ng room where I

       s t ar t ed ma k in g notes and drawings of the interior of the resi den ce ,

       s t a rting with the kitchen , the I iving room, the smal I bedroom of f

       of t h~ kitchen, and subsequently, went back into the bedroom a ft er

       Off i c er Jatkowski had photographed the crime scene, and ma de no t es

       there , also .       The only thing unusual           in the kitchen of t he re s idence

       was o n the f loor .       There was crackers , a can of Crisco.                         The c r ac ke r s

       some ha d been removed from the package and were scattere d an d c r umbled
       up a l I over o n the floor.            I noticed that the dishes had been c l ean
       an d wer e on a rack on the counter .                I noticed that there wer e t hree
       (3) g la sse s in the sink.           I didn ' t notice anythin g else unus ual                        in
       t he kitch e n.      I t hen went through the I lv ing room a I ittle more ca r e -

       f u lly and we o bserved that the smal I table next to a chair al o ng the
       north wal I of the I iving room was cracked at the base.                                I no ti ced t hat
       the r 9' was a s mal I bottle of fingernai I polish laying at the ba s e of

      th i s tabl e .      There were other notes mad e by my s elf at the t i me in

       re ga rds to eve ry p iece of paper tha t was there; the numb e r of cigare t t e

       butts· in as h trays , the bra nd, if it cou Id be determined .                              I d i dn ' t
       notice a nythin g e l s e really unu s ual in the I ivin g r oo m.                           t hen p r o -

                                                       PEORIA_SAVORY
      ceeded toward s th e hal I way, which is off be tween the I iv in g 13126
                                                                          roo m, go i ng
                                            1:23-cv-01184-CRL-JEH # 318-19                                                               Filed: 04/22/24                            Page 7 of 9                         ' ,
                                                                                                                                                                                       Form F4- 5M- 3•1-76
                        OFFICE OF


CORONER                                                                                                                                 Peoria, lllinois, ___f-e-b....c.....,_,a~C-).,_,__.3c..,,- 1-9.,_,_7..,_7_
              OF PEOR I A COU :-.' T ' "

                                                                                                              EVIDENCE given at the Coroner's Inquest on the body of

r,._,_O                            I .....E.....E_'.....c....o. . .o. . .P. ...E....R.___.A. . ,N. . ._.D____..,l....8.....M'"'"....'F S...__...,W
      -"-'_.. ,N"'"'N. .I,.....E_ .....                                                                                                          . . , __.R....O
                                                                                                                                                               .......
                                                                                                                                                                   B.....I....N....5...0....N
                                                                                                                                                                                            -'"+-,____...!_._R...,•.___ _ _ _ _ _ _ _ _ _ _ _, deceased;

J_O_H_ N_F_I_E_R_S___________________, after being duly sworn, testifies as follows:


A.               (Cont . ) :                     to be blood in the residence other than~ the bac k bedroom ,
                which wo u l d be the northeast bedroom of the residence.                                                                                                                                       th e n e nte r ed

                the f ront bedroom , noticed that there was no furniture in there, es -

                pe ci a l l y for sleeping.                                                    There were a few small chairs in there a nd

                no th ing unusual                                     in the front bedroom .                                                            then entered the northeas t

                back be droom where the two people were found and along with Off i c er

                Ca n non an d Officer Jatkowski and other Lab pe r sonnel , we went t h ro ugh

                the c rime scene, ihe bedroom area , making no t es and measurement s --

                dime ns ions of the room, of the bed , of the dresser .                                                                                                                     As previo us l y

                st at e d by Officer Perkins ,                                                            immediately ente r ing th i s bedroom , th e r e

                 i s a dresser and between the dresser and the bed, wh i ch was l oca t e d

                o n t he nort h wa l I, between the bed and the dresser was the body o f

                James Rob i nso n .                                     He was laying on his back , his upper extremit i es, hi s

                a r ms were in a raised position .                                                                           Al most shou l der l evel.                                                     He a ppeared to

                ha ve mult i p l e s tab wounds in his chest area and abdomen.                                                                                                                                  Upon ob se rvi ng
                h i m, there was ,                                   in my opinion, no s i gns of life.                                                                                    observed Co n nie
               Coop er, al s o ,                              l ying on the floor, ho wever , she was , upon entering the

               bed r o om, she woul d have been to the left o n the -- along the we st wa l I

               be tw e en the wa l I and the bed .                                                                    She, also , was l aying on her back, with

               her a rms extended .                                              She , also , had what appeared to be mu lti p le stab

               wou nds t o her chest and a severe lacera t ion to her abdomen with bow e l

               p r o trudi ng .                            I , a l so , noted that she had the laceration s on he r hands
               wh ich we r e i nd ica ted to myse If and other po Ii ce pe r son ne I , th at t hey
                                                                               was
               very poss i b l y could have been defense wounds . There/a large a moun t o f

               b l oo d in the bed .                                         Al I the items on the bed , PEORIA_SAVORY
                                                                                                          the shee ts , th e 13127
                                                                                                                              be dspread
                         o   I    t
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             OFFIC E O F


CORONER                                                                      Peoria, lllinois, _ __ _._f-"'e....b....r_,.., ....
                                                                                                                            a _._r~y_3.,_,..,__._I_,_9_,_7....,7'--
       01-· Pi,;ORIA COU~TY

                                                              EVIDENCE given at the Coroner's Inquest on the body of

C_O_N_N_I_E--'-L-'E-'-E--'-C-'0-'0_P_Ec...R_A_N_D_J'-A_M_E_S.;.__W_._R...;_O_B...;_I_N-'-S-'-
..:..                                                                                     O_N..L,_J_R_._ _ _ _ __ _ _ _ _ _ _,                    deceased;

J_ O_H_N_F_
          I_
           E_R_S_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _,                                after being duly sworn, testifies as follows:



A.       That        is correct .

Q.       And the             investigation,          is i t sti 11         continuing?

A.       Yes ,       sir ,        i t is.

Q.       Th e house itself showed that both deceased individuals were not ,

         to the best of your knowledge,                             stabbed         in any other room, other

         than the room that they were found,                                 is that correct?

A.       That would be my opinion from observing the crime scene, and what

         evidence that was present,                          i t appears that way.

Q.       In your conversations with anyone, there were no witnesses to this

         incident that occurred?

A.       To my knowledge ,                   no .

Q.       And     I believe,             through the efforts of the Violent Crime Unit,and a l I                                                                 --

         a tremendous amount of pol ice, that the                                      investigation culminated approx-

         imate I y a week ago -- not comp I ete I y ,                            but brought forth an a I I eged

         suspect ,               is that correct?

A.       That        is correct .

Q.       An d this               information ,      we' 11    get from Officer Brown                               in her testimony.

         Is there anything else that you could add to your testimony?

A.       No,     sir .
                 \

Q.       ( To the Jury):                    Are there any questions by the Jury?

         (jury):             None .

Q.       Have you ever gone to this residence before for any reason?

A.       No ,    sir,            I have not .

Q.       We r e you p ersonally acquainted with either of the                                                   individuals?

A.       No,     sir.                                                                        PEORIA_SAVORY 13128
                               •   J   I
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                                                                                                                                            Form F4-5M-3-1-76                          ...e-,s2

CORONER                                                                                                Peoria, Illinois, ___..,_f...~....b....r-1,....i...
                                                                                                                                                       iil +-r-¥y~3-'-,r-+1..;;,9_,7......7.______
          01'" PEORIA COU :'IITY

                                                                                   EVIDENCE given at the Coroner's Inquest on the body of

     .....N,___,,_N.....I....
c....o                    E___...l....
                                   E....
                                       E-c.....
                                           o....o....P....E.....R-4....~....
                                                                        , D.._1....A-M....E:_$,.____.W...__-R
                                                                                                           ......O
                                                                                                                 ....B
                                                                                                                     .........
                                                                                                                           I .....
                                                                                                                              N....
                                                                                                                                  S....
                                                                                                                                   o ....     R - - - - - - - - -- -- ,
                                                                                                                                        NT,-1.....                              deceased;

J---'O_
      - H_N_F_l'-'E=-R--'-S-=------- - - - - - - - - - - - - , after being duly sworn, testifies as follows:


Q.           In your opinion, would you say that possibly whoever did this cou ld
            have known the two individuals?
A.          Wa s your question, "Could have known"?                                                                   think very possibly they
            c o uld have known from what was learned at the crime scene, yes.
Q.          The testimony that was obtained from Mrs. Robinson and Mr. Douglas,

            does that concur with what the statements that have been taken and
         the interviews given?
A.          Ye s , sir.
                      \



Q.          Al I right.                    I believe, if there is nothing else, that wi 11 be a l I.
            Thank you very much.




                                                                                                                       PEORIA_SAVORY 13129
